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Exhibit N
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Off-Hire Deactivation Check Sheet

Vessel Name: | vy bine AG el TP USCG Documentation # LC io DIS 6 7 or

State Registration # Vessel Length: “4 et Homeport: fi le Ve J 1 S

Circle One — Recreational or § Commercial Boater{fichermaih if Commercial, please provide License type and
x. day?

Number Sh me omy) af k rob VoO Contract Number Ler, Se OY lo

Please confirm decontamination procedure was completed /¥Es ot NO (circle one}

Please provide the following information:

1. On hire Date: S ~ 3 [ - / O

2. Off hire Date includingtime:__—J- *1G~ Jy)

3. Amount of Days Activated: YQ Dey, s
7

Did you incur any damages to your vesse! during the activation period: YES of feitcle one}

if yes, please provide details

Did you or anyone in your crew incur any. personal injury during activation: YES orNO irc one}

If yes please provide details

Please provide the date of return and name of person who accepted it:

Contact Information:

Vessel Owner L) i) , NG. tu U pi
Captain Llp l MO VUE LY
Crew member(s) 1. TA un Adbs, Ls \ fQAt
2. Re Leary en”
wb F

Would you be willing to participate in the VESSEL OF OPPORTUNITY program again: YES or NO (circle one)

4i

. f ff a”
Date, | ~' &~ iD “Owner/Captain Lp: MAL VGignature: XO oki
oben ey if
Date: Ib br i Inspector: Hews we vf Qh Var se lle Signature: FL

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Case 2

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